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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


     Civil Action No. 16-cv-02106-WYD-MEH

      DANIELLE MARKS

            Plaintiff,

     v.

     LORETTA LYNCH, United States Attorney General, United States Department of Justice

           Defendant.
     ______________________________________________________________________________

                      AMENDED COMPLAINT AND JURY DEMAND
     ______________________________________________________________________________

            Plaintiff Danielle Marks for her Complaint states:

                                            INTRODUCTION

            This is a sex discrimination and retaliation suit brought by a former female special agent

     of the United States Federal Bureau of Investigation (“FBI”) who was discriminated against,

     harassed, and ultimately constructively discharged from her employment in violation of federal

     law. Plaintiff was retaliated against after she made a formal complaint to FBI management and

     the EEO about the harassing and discriminatory behavior of numerous male FBI special agents

     and management. Plaintiff asserts claims against the FBI of sex discrimination in violation of

     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”)

     and of retaliation against her for having engaged in protected activity by objecting to her

     harassment by the FBI, also in violation of Title VII, 42 U.S.C. § 2000e-3(a).
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                                                 PARTIES

       1.   Plaintiff Danielle Marks is a resident of the State of Colorado.

       2.   Defendant Loretta Lynch, United States Attorney General, United States Department of

     Justice is a federal agency.

       3.   The Department of Justice’s principal office is 950 Pennsylvania Avenue, N.W.,

     Washington D.C., 20530.

                                     JURISDICTION AND VENUE

       4.   This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1367, and

     specifically under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

     § 2000e et seq.

       5.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because the

     employment practices and other conduct alleged to be unlawful were committed in the District of

     Colorado.

       6.   At all relevant times, Defendant United States Department of Justice was covered by the

     definitions of “employer” set forth in 42 U.S.C. § 2000e(b) of Title VII.

       7.   All procedural prerequisites for the filing of this suit have been met. Plaintiff filed a

     federal EEO complaint on November 12, 2014.

                                       SPECIFIC ALLEGATIONS

       8.   Defendant United States Attorney General, United States Department of Justice is a

     federal agency that oversees the Federal Bureau of Investigation (“FBI”).

       9.   Danielle Marks began working as a special agent for the FBI on April 7, 2010.
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       10.   Ms. Marks was originally assigned to the Baltimore Division as an agent on the Safe

     Streets Task Force, investigating drugs and violent gangs.

       11.   Ms. Marks had an overwhelmingly positive experience at the Baltimore Division and she

     received performance appraisal ratings of “Successful,” and “Excellent.”

       12.   Ms. Marks was transferred to the Denver Division in January 2013, and she was assigned

     to the Metro Gang Task Force (“MGTF”).

       13.   Even before Ms. Marks arrived in Denver, Denver Assistant Special Agent in Charge

     (“ASAC”) Mike Rankin told Ms. Marks’s former supervisor in Baltimore that the environment

     in the MGTF was “tough,” and asked if Ms. Marks had the skillset to handle such an

     environment. Ms. Marks’s supervisor reiterated to ASAC Rankin that Ms. Marks was an

     excellent agent and that she got along well with all of the male agents in Baltimore. Ms. Marks

     was the only female agent on the Baltimore task force.

       14.   There were six FBI Special Agents assigned to the MGTF, along with Task Force

     Officers (“TFOs”) from various police departments in the Denver metro area. Although the

     MGTF is supposed to be an FBI-led task force, it is in fact partially led by the Aurora Police

     Department.

       15.   There was one Lieutenant from the Aurora Police Department and two Sergeants

     assigned to the MGTF from the Aurora Police Department and the Denver Police Department.

     These police officers shared the supervisory role for all day-to-day matters.

       16.   Supervisory Special Agent (“SSA”) Todd Wilcox and ASAC Mike Rankin were the FBI

     agents who oversaw operations at the Denver MGTF.
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       17.   Ms. Marks’s first and only Performance Appraisal Rating at the MGTF was “Successful.”

     She was told that she could not be given a higher rating because she had only been on the MGTF

     for a short period of time.

       18.   In September 2014, Ms. Marks received a monetary award for her efforts in gang

     investigation.

       19.   During Ms. Marks’s tenure at the MGTF, she experienced a hostile work environment

     replete with inappropriate sexual comments.

       20.   In Spring 2013, Special Agent (“SA”) Sara Aerts brought a cake into the office that was

     decorated as a penis in order to gain approval from the male FBI special agents. She put the cake

     in the workroom and asked, “who’s the biggest dick on the task force? I know, Dave See.” SA

     Aerts then placed the cake on TFO See’s desk.

       21.   When TFO See, who was an officer with the Jefferson County Sheriff’s Department,

     looked at the cake, he was visibly offended and angry.

       22.   Beginning in September 2013, Ms. Marks told Supervisory Special Agent (“SSA”)

     Wilcox that Special Agents Sanin, Tobar, and Alexander, all of whom were male:

         x   refused to assist her with surveillance on her case, even though it was the only open case

             in the office;

         x   were never at work, particularly on the weekends;

         x   behaved inappropriately and made repeated sexual comments around Ms. Marks and

             other female employees;

         x   treated the Task Force Officers poorly;

         x   responded to Ms. Marks in a negative manner; and
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         x   routinely made negative comments to the Task Force Officers about Ms. Marks’s

             casework.

       23.   On more than 20 occasions, Special Agents Sanin, Tobar, and Alexander failed to attend

     their scheduled surveillance shifts for Ms. Marks’s wiretap case. On at least 7 occasions, Ms.

     Marks asked SSA Wilcox where the agents were. On each occasion, SSA Wilcox would say that

     he would check in with them, and then he would reply that they were “unavailable.” He never

     provided any more detail on their whereabouts.

       24.   For example, in March 2014, Ms. Marks needed help with surveillance and asked SA

     Tobar’s wife, Kelsey Totura, who also worked at the MGTF, if she could call SA Tobar and find

     out where he was because Ms. Marks was unable to reach him. It was before 5pm and SA Tobar

     was on the surveillance schedule until 7pm. A few minutes later, Ms. Totura told Ms. Marks that

     she heard from SA Tobar and that he “was at the bar.”

       25.   On another occasion, in July 2014, SA Tobar was the acting supervisor while SSA

     Wilcox was on vacation. Ms. Marks was planning a complicated operation and needed help

     prior to and after the operation. Repeatedly, during a three day period, Ms. Marks would call SA

     Tobar on his blackberry and he would either not answer or send the call to voicemail. When Ms.

     Marks asked for his help and he was required to assist, he would send Ms. Marks a rude text

     message. For example, when he unexpectedly had to admit cash into evidence, he sent a text

     message to Ms. Marks implying that he wasn’t happy about “doing her job” for her.

       26.   Furthermore, on one occasion, SSA Wilcox mandated that Agent Tobar help Ms. Marks

     with a 15-day wiretap report. SA Tobar was a senior agent and had many years of experience
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     writing wiretap reports. Nonetheless, the report that he wrote was so poor that Ms. Marks had to

     rewrite it hours before it was due.

       27.   Each time Ms. Marks complained to SSA Wilcox from September 2013 through

     September 2014 about these issues, he assured her that he would speak with Agents Sanin, Tobar

     and Alexander.

       28.   However, despite these assurances, the agents’ behavior became worse, and SSA Wilxox

     was similarly uninterested in providing Ms. Marks support.

       29.   In fact, for a six month period from the winter of 2013 to spring of 2014, SSA Wilcox

     spent the entire day in his office with his headphones on, studying for the Colorado Bar

     Examination. Anytime Ms. Marks asked SSA Wilcox to review a Title III affidavit prior to

     submitting it to the AUSA on the case during this time period, SSA Wilcox instructed Ms. Marks

     to have SA Peterson handle anything she needed regarding her affidavits. SSA Wilcox had little

     to no involvement with her case during this time.

       30.   In May 2014, SA Tobar and SA Donnie Peterson were having a discussion about Special

     Agent Aerts possibly transferring to a different FBI office or leaving the FBI so that she could be

     closer to her boyfriend in Idaho. SA Tobar stated, “good, I hope she quits, she can stay home in

     the kitchen.”

       31.   SA Tobar frequently made derogatory comments about women and their inability to

     effectively act as FBI agents.

       32.   For example, Agents Sanin, Tobar, and Alexander treated another female FBI analyst

     disrespectfully on a daily basis. They called her the “little Amish girl,” frequently mocked her

     appearance, and when the male FBI analyst was unavailable, they would say things like, “I sure
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     do wish we had an analyst available today.” SA Tobar, in particular, routinely ignored female

     employees.

       33.   Other TFO’s overheard Agents Sanin, Tobar, and Alexander say things like, “women

     belong in the kitchen,” and “women shouldn’t be FBI agents

       34.   Numerous times during Ms. Marks’s employment, Agents Sanin, Tobar, and Alexander

     invited Ms. Marks’s partner, TFO Cooper, a male, to lunch. Each time, they asked if Ms. Marks

     was coming, and when TFO Cooper responded that she was, they said “nevermind,” and that

     they would instead go somewhere else.

       35.   Ms. Marks was also excluded from operations plans that Agents Sanin, Tobar, and

     Alexander devised. They instead included male agents in the plan who were not even present in

     the office on the day the plan was to be implemented.

       36.   In June 2014, TFO Cooper told Ms. Marks that SA Tobar was having a conversation with

     SA Aerts and said, “come on Sara, show me your tits.” Agents Sanin and Alexander were also

     present. When TFO Cooper entered the room, the agents immediately stopped talking.

       37.   TFO Cooper also told Ms. Marks that he heard male special agents make numerous

     derogatory comments about women, implying that women should not be special agents.

       38.   A number of male task force officers told Ms. Marks that their police departments would

     surely terminate male employees if they acted the way the male FBI special agents acted.

       39.   In October 2014, TFO Roberts, a female, shared with Ms. Marks that another TFO had

     told Ms. Roberts that SA Henry Sanin, a male, said to SA Aerts, “let me lick your pussy.”

       40.   Ms. Marks urged SA Roberts to report this offensive behavior.
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       41.   Throughout Ms. Marks’s time as a Special Agent on the MGTF, male special agents

     made inappropriate comments and then looked at Ms. Marks or Special Agent Aerts and said, “I

     wonder how many zeroes will be at the end of that lawsuit check.”

       42.   After a few months, male special agents made inappropriate comments and then said “uh

     oh, add another zero.” All of the other male FBI special agents would laugh at this comment.

       43.   On one occasion, Ms. Marks was told that Agents Sanin, Tobar, and Alexander were

     discussing assignments when one of the agents said, “give it to Marks, she’ll fuck it up.”

       44.   On numerous occasions, when TFO Cooper and Ms. Marks were scheduled to meet with

     confidential sources or to conduct a gun or drug buy, Agents Tobar, Alexander, and Sanin would

     arrive at the scene uninvited. TFO Cooper told Ms. Marks that he did not know why they were

     there. It was obvious to Ms. Marks that they were present as an “extra set of eyes,” because they

     did not feel that female agents were capable of adequately supporting their partners. To Ms.

     Marks’s knowledge, Agents Sanin, Tobar, and Alexander never did this when two male agents

     were meeting with informants or conducting a buy.

       45.   In Spring 2015, Ms. Marks and TFO Cooper were giving a briefing in preparation for a

     controlled drug purchase from one of the main targets in their case. During the briefing, SSA

     Wilcox, SA Alexander and SA Tobar were present and having a loud, side conversation, clearly

     ignoring the briefing. After the briefing, TFO Roger Wehr approached SA Tobar and told him

     that he felt they were being disrespectful to TFO Cooper and Ms. Marks and that he and the

     other TFO’s were upset about how SA Tobar, Alexander and Sanin were not helping Ms. Marks

     with her case. SA Tobar stated that he did help Ms. Marks with her case. TFO Wehr stated that

     SA Tobar only helped Marks with her case when SSA Wilcox told him to.
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       46.   Shortly after, SSA Wilcox approached TFO Wehr and stated that he heard he had “an

     issue with my guys” and asked if TFO Wehr wanted to talk to him about it. TFO Wehr stated

     the same concerns that he stated to SA Tobar. SSA Wilcox told TFO Wehr that if he wanted to

     voice his concerns to SA Alexander, then he should do so. TFO Wehr stated he had a separate

     conversation with SA Alexander in the parking lot of MGTF and SA Alexander admitted that he

     was not supporting Marks with her case. TFO Wehr stated that the TFO’s felt that it was wrong

     that he and other agents were not supporting Ms. Marks, their fellow agent, and how this was a

     recognized issue by the TFO’s.

       47.   Furthermore, from September 2013 through her constructive discharge in October 2014,

     Supervisory Special Agent Wilcox and the other male special agents frequently made jokes

     about Special Agent Donnie Peterson and Assistant United States Attorney (“AUSA,”) and Chief

     of the Organized Crime Drug Enforcement Task Forces for the state of Colorado (“OCDETF”),

     Susan “Zeke” Knox.

       48.   SA Peterson worked on several cases successfully with AUSA Knox and it was clear that

     they had a positive working relationship. Because of this, when Ms. Marks and other agents had

     to work with AUSA Knox, they often asked SA Peterson for advice.

       49.   Special Agent Peterson became the brunt of frequent sexually inappropriate comments

     about his relationship with AUSA Knox. For instance, other male special agents:

         x   said that Special Agent Peterson and AUSA Knox were having an affair;

         x   frequently said “get Donnie to call Zeke, he’s doing her,”;

         x   whenever someone asked where Special Agent Peterson was, SSA Wilcox would say,

             “making Zeke’s trailer shake”;
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        x   if Special Agent Peterson were busy, other male special agents would say that he was

            “laying the pipe to Zeke.”

      50.   To Ms. Marks’s knowledge, SA Peterson was not having an affair with AUSA Knox.

      51.   However, ASAC Rankin was allegedly having an inappropriate relationship with his

     married subordinate. On one occasion in April 2013, ASAC Rankin and his subordinate openly

     stayed together in a hotel room for a work conference.

      52.   ASAC Rankin also assisted her in applying for her current position of Secretary to the

     Special Agent in Charge Ravanelle.

      53.   Despite numerous complaints from employees about this relationship, the behavior was

     not only tolerated but encouraged at the Denver Field Office.

      54.   During this same time, Special Agent Alexander showed everyone in the office a picture

     of a female FBI agent wearing high heels and a ballistic vest. He said that she looked ridiculous

     and that she was an embarrassment to the FBI.

      55.   He then placed the picture on his desk. He only removed the picture when the next

     scheduled inspection was due.

      56.   In mid-July 2014, Special Agent Tobar announced that he had requested a transfer to a

     different squad. On July 29, 2014, ASAC Rankin and SSA Wilcox stated that no one would be

     allowed to transfer out of MGTF and if anyone tried to “backdoor” him, the consequences would

     be grave.

      57.   SSA Wilcox said that ASAC Rankin can be a “vindictive son of a bitch,” and that he

     would surely follow through with his threats.
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      58.   Ms. Marks had numerous conversations with SA Aerts, a female, throughout her tenure

     in Denver about how women were not treated equally in the MGTF.

      59.   In summer 2014, Lieutenant Torpin stated to Ms. Marks and SA Aerts after leaving SSA

     Wilcox’s office, “I don’t think they like working with women.”

      60.   Ms. Marks and other female agents were routinely excluded from MGTF operations

     plans, particularly as part of the rescue team. Special Agents Tobar, Sanin, and Alexander made

     numerous comments stating that only male agents should be part of the rescue team and that it

     should be “left up to the boys.”

      61.   Furthermore, Special Agent Marks was the only agent besides Special Agent Aerts (a

     female), who had active investigations during Ms. Marks’s tenure.

      62.   In contrast, Special Agents Tobar, Sanin, and Alexander had not opened a case at any

     point during Ms. Marks’s tenure. When employees commented on their lack of work, they

     claimed that they were busy doing proffers from their old case (which had closed in April 2013).

      63.   On August 13, 2014, SSA Wilcox participated in a high level chief’s meeting between

     Aurora Police Department and the FBI. SSA Wilcox, ASAC Rankin, SAC Ravanelle, and the

     Aurora Chief of Police were present. Following the meeting, SSA Wilcox told Ms. Marks that

     task force officers from the Aurora Police Department had told FBI management that male

     special agents were refusing to help task force officers and Ms. Marks with her case.

      64.   After the meeting, Task Force Officer Torpin told Ms. Marks that during the squad

     meeting, SSA Wilcox defended the male special agents for not supporting others and for failing

     to come to work. In fact, SA Sanin was so rarely at the office that it was common place for SSA

     Wilcox to joke with SA Sanin when he would arrive by saying “Hey Henry, do you still work
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     here?” Furthermore, SA Sanin’s absence was so prevalent that Lt. Torpen stated to Ms. Marks

     that he thought SA Sanin was assigned to MGTF part-time as well as another squad at the main

     office and that was why he wasn’t around often. Ms. Marks explained that SA Sanin was

     assigned full-time to MGTF.

      65.   During this meeting, it was confirmed that Special Agents Tobar, Sanin, and Alexander

     were not coming to the office when they were scheduled to, particularly on the weekends. Lt.

     Torpin provided detailed key card reports showing that the agents’ individual door codes were

     not being entered and were not on the log report.

      66.   Despite proof of this misconduct, SSA Wilcox said that the agents must have had reasons

     for not being in the office when they were scheduled to. However, when pressed further on the

     issue, SSA Wilcox did not have any explanation for the agents’ whereabouts.

      67.   SSA Wilcox also told others at the squad meeting that Ms. Marks was mistreated because

     the male special agents did not like her.

      68.   Lt. Torpin told Ms. Marks that if she continued to be targeted by the male special agents

     and SSA Wilcox, he and other task force officers were willing to speak to Special Agent in

     Charge (“SAC”) Ravanelle to defend her, because they felt as though Ms. Marks was one of the

     hardest working agents at MGTF.

      69.   In early September 2014, SA Alexander created an operation plan for an upcoming

     surveillance. Marks noticed the stack of operation plans on the table, and when she read it, she

     realized that she was the only person not included in the plan who was at work that day. Ms.

     Marks told SA Alexander that she noticed she had not been included on the plan and asked if

     they needed help. SA Alexander stated, “no, I don’t need your help.” When the briefing began,
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     Ms. Marks was the only person not present in the briefing room. After the briefing, DHS Agent

     Eric Mahl asked why Ms. Marks was not present for the briefing. Ms. Marks stated that SA

     Alexander told her that she wasn’t needed and Agent Mahl stated, “That’s just wrong, you know

     we (agents) can never have enough surveillance.”

      70.    After a year of enduring constant inappropriate comments and poor treatment, the

     environment at the MGTF became so hostile and intolerable that it began to affect Ms. Marks’s

     mental health.

      71.    As a result, Ms. Marks tendered her resignation to the FBI on September 15, 2014.

      72.    On September 16, 2014, Special Agent Sanin approached Ms. Marks and asked her to

     reconsider her resignation, as the MGTF is “not the real FBI.” Ms. Marks told him that ASAC

     Rankin wanted to speak with her about her resignation. At this time, SA Sanin warned Ms.

     Marks not to say anything negative about SSA Wilcox, Special Agent Tobar, or Special Agent

     Alexander to ASAC Rankin because they were all close friends and it would likely get back to

     them.

      73.    Special Agent Sanin also said that ASAC Rankin always protects SSA Wilcox and that

     he does not like Lt. Torpin.

      74.    For fear of retaliation, Ms. Marks elected not to tell SSA Wilcox or ASAC Rankin the

     reasons for her resignation until her exit interview on September 30, 2014, her last day of

     employment.

      75.    On September 29th, SA Aerts asked Ms. Marks if she was going to tell SAC Ravanelle

     everything. When Ms. Marks said that she was, SA Aerts warned her that Ms. Marks better plan

     on leaving, because if she did not, there would be severe consequences. SA Aerts also said that
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     this was the reason she had not complained about the inappropriate sexual comments and hostile

     environment.

      76.   During her exit interview with SAC Tom Ravenelle, Ms. Marks spoke at length about the

     inappropriate sexual comments, negative attitude, lack of support, and failure to address her

     complaints that she experienced during her employment in the Metro Gang Task Force. Ms.

     Marks gave SAC Ravenelle direct quotes and explicit detail about the environment within the

     MGTF.

      77.   SAC Ravenelle told Ms. Marks that he did not wish to lose a good agent and he initially

     offered to transfer her to a different squad or to the New York field office. When Ms. Marks

     declined both options and stated that she wanted to stay at MGTF and that the offending agents

     should instead be transferred, SAC Ravanelle said that it was unrealistic to transfer the offending

     agents out of the MGTF before he had an opportunity to investigate the issues. SAC Ravanelle

     then asked Ms. Marks if she would be willing to take a leave of absence, but noted that she

     would first have to use her own annual leave.

      78.   Ms. Marks said that she would agree to take her annual leave and a leave of absence only

     if it was clear that she would return to the MGTF and that she could seek outside employment

     after her administrative leave was exhausted.

      79.   Ms. Marks explained to SAC Ravenelle that she would need approval for outside

     employment prior to October 13, 2014, as she had tentatively accepted a part-time position as a

     speech pathologist (her profession prior to joining the FBI).

      80.   SAC Ravenelle assured Ms. Marks that he would get her an answer quickly.
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      81.   During Ms. Marks’s exit interview, SAC Ravenelle asked Ms. Marks multiple times if he

     could invite ASAC Rankin into the room.

      82.   Ms. Marks explained to SAC Ravenelle that ASAC Rankin was aware of the hostile

     environment at MGTF, and that he had not taken any action to resolve the issues. In fact, it was

     common knowledge that ASAC Rankin was close friends with the offending agents, as was SSA

     Wilcox.

      83.   Nonetheless, SAC Ravanelle invited ASAC Rankin into the room and briefed him on

     what Ms. Marks had just shared. When Ms. Marks told SAC Ravanelle and ASAC Rankin

     specifically that Lt. Torpen had told her about the negative comments made about her during a

     staff meeting in August 2014, both ASAC Rankin and SAC Ravanelle stated that they did not

     recall those comments being made. SAC Ravanelle then put ASAC Rankin in charge of the

     “investigation.”

      84.   On October 1, 2014, TFO Roberts, a female, told Ms. Marks that she was happy that Ms.

     Marks reported the incidents of sexual harassment and inappropriate behavior to SAC Ravanelle.

      85.   On October 2, 2014, Ms. Marks complained to both the FBI’s Office of Professional

     Relations and a Denver EEO counselor.

      86.   An EEO investigation was initiated in early October 2014.

      87.   Shortly thereafter, Ms. Marks was informed that SSA Wilcox publicly announced to the

     MGTF TFOs, agents, and civilians that Ms. Marks had filed an EEO complaint.

      88.   By October 8, 2014, SAC Ravanelle had not contacted Ms. Marks about her employment

     status. As such, Ms. Marks sent him an email inquiring about approval to seek outside

     employment during her leave without pay.
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      89.   SAC Ravanelle responded that she would likely be approved for outside employment, but

     she had to fill out another form and it could take some time to receive approval. He then

     reiterated that ASAC Rankin was in charge of her investigation.

      90.   Ms. Marks knew that ASAC Rankin would not appropriately investigate her complaints.

      91.   As expected, ASAC Rankin never interviewed Ms. Marks, the sergeants and lieutenants

     at MGTF, or any of the task force officers who witnessed the pervasive sexual harassment and

     misconduct.

      92.   In fact, ASAC Rankin only interviewed the special agents who had engaged in the sexual

     harassment and discrimination. In ASAC Rankin’s interview with the EEO counselor, he stated

     that he did not interview anyone else because he thought that the agents were being truthful and

     that further investigation was not necessary.

      93.   ASAC Rankin then determined that Ms. Marks’s allegations were unfounded.

      94.   As a result of ASAC Rankin’s incomplete investigation and SAC Ravanelle’s inability to

     approve Ms. Marks’s outside employment request, along with the pervasive hostile work

     environment that Ms. Marks was forced to endure throughout her tenure at MGTF, she felt that

     her only option was to resign from the FBI in October 2014.

      95.   In October 2014, SSA Wilcox received an “Outstanding” in his performance review.

      96.   Ms. Marks filed a formal complaint with the FBI’s Office of Equal Employment

     Opportunity Affairs on November 12, 2014.

      97.   After Ms. Marks filed her EEO complaint, she was informed that ASAC Rankin blamed

     Lt. Torpin from the Aurora Police Department for influencing Ms. Marks to file the complaint.

     He insisted that Lt. Torpin be removed from the MGTF because he was “untrustworthy.” Lt
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     Torpen called Ms. Marks in mid-October and told her that he was likely being removed from the

     MGTF because ASAC Rankin told his Chief that he was untrustworthy because he shared

     information from the Chief’s meeting with Ms. Marks and the meetings were considered

     confidential. Consequently, Lt. Torpin was removed from the MGTF and transferred back to the

     Aurora Police Department. Agent Tobar currently wears a picture of Lt. Torpen on his FBI

     badge, and frequently brags about having him removed from the MGTF.

      98.   Furthermore, Special Agent Tobar also blamed TFOs Cooper and Johnson, and Lt.

     Torpin for influencing Ms. Marks to file an EEO complaint. Agent Tobar proceeded to call these

     officers “backstabbers” to everyone at the MGTF.

      99.   In November 2014, MGTF employee Jennifer Oftelie told Ms. Marks that Special Agents

     Sanin, Tobar, and Alexander were acting “as usual,” because they were told by FBI management

     that Ms. Marks’s EEO complaint had been dropped.

      100. Ms. Oftelie noted that Agents Sanin, Tobar, and Alexander were not coming to work and

     were refusing to do work while they were in the office. They were also making inappropriate

     comments and were overheard saying that they didn’t care about the lawsuit and that by the time

     anything could happen to them, they would be long retired.

      101. Agent Alexander also told Ms. Oftelie after Lt. Torpin was removed from the MGTF that

     they “were going after Torpin, [Ms. Oftelie] was just collateral damage.”

      102. In November 2014, Ms. Marks received a call and an email from Ms. Oftelie inviting her

     and Lt. Torpin to a luncheon at a restaurant in Denver so that they could give them plaques that

     the Task Force had made for them.
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      103. Ms. Oftelie then told Ms. Marks that analyst Frank Fredericks told Ms. Oftelie that he

     overheard Agents Sanin, Tobar, and Alexander state that they were going to attend the luncheon

     to make Ms. Marks and Lt. Torpin “feel awkward.”

      104. Agents Sanin, Tobar, and Alexander did indeed attend the luncheon and failed to say

     anything to Ms. Marks or Lt. Torpin. Several of the other task force officers were upset that the

     agents had attended the luncheon and thought that it was disrespectful. Two of the task force

     officers were so offended by the agents’ presence that they left the luncheon and apologized to

     Ms. Marks for the situation.

      105. Agents Sanin, Tobar, and Alexander were the only FBI personnel to attend the luncheon.

      106. In January 2015, TFO Scott Cooper told Ms. Marks that Agent Sanin and the other special

     agents were informed that Ms. Marks had submitted a formal complaint to the EEOC. Agent

     Sanin told Officer Cooper in a sarcastic tone, “well, looks like I will be getting some days off.”

      107. Ms. Marks was also told that soon after she resigned, Agent Tobar said, “I don’t get why

     she’s suing, all the stuff I said wasn’t to her anyway.”



                                       STATEMENT OF CLAIMS

                                     FIRST CLAIM FOR RELIEF
        (Sex Discrimination in violation of Title VII of the Civil Rights Act of 1964, as amended)

      95.   The foregoing allegations are realleged and incorporated herein by reference.

      96.   The Federal Bureau of Investigation subjected Plaintiff to different terms and conditions

     of her employment based on her sex in violation of Title VII of the Civil Rights Act of 1964, 42

     U.S.C. § 2000e-16, including by: subjecting her to sufficiently severe or pervasive harassment

     based on her sex so as to alter the conditions and terms of her employment; condoning or
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     tolerating such harassment; subjecting her to less favorable terms and conditions of employment

     including, but not limited to, harassing her, discriminating against her in job assignments,

     refusing to support her cases, and forcing her to resign by making her work environment

     intolerable.

      97.   The FBI was motivated to discriminate against Plaintiff, in part, by its attitudes about

     women acting as special agents.

      98.   The FBI’s actions toward Plaintiff were done knowingly and intentionally or with

     reckless disregard of her rights.

      99.   The FBI’s conduct discriminated against Plaintiff on the basis of her sex in violation of

     Title VII.

      100. As a direct and proximate result of the FBI’s actions, Plaintiff has suffered damages,

     including lost wages and benefits, diminished reputation and other pecuniary losses, and

     emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other

     non-pecuniary losses.

                                     SECOND CLAIM FOR RELIEF

             (Retaliation in violation of Title VII of the Civil Rights Act of 1964, as amended)

      101. The foregoing allegations are realleged and incorporated herein by reference.

      102. Plaintiff participated in statutorily protected activity by opposing practices targeted at her

     that were unlawful under Title VII, including discrimination and harassment based on sex.

      103. As a result of Plaintiff’s protected opposition to discrimination and harassment, the FBI

     retaliated against her by subjecting her to different terms and conditions of employment as
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     described in this Complaint, including refusing to support her cases, constructively discharging

     her, and telling special agents that Ms. Marks had filed a formal EEO complaint.

      104. The FBI’s actions taken against Plaintiff were done knowingly and intentionally or with

     reckless disregard of her rights.

      105. The FBI’s conduct violated 42 U.S.C. § 2000e-3(a) of Title VII, as applicable to the

     federal government.

      106. As a direct and proximate result of FBI actions, Plaintiff has suffered damages, including

     lost wages and benefits, diminished reputation and other pecuniary losses, and emotional pain

     and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other non-pecuniary

     losses.



               WHEREFORE, Plaintiff Danielle Marks respectfully requests that this Court enter

     judgment in her favor and against Defendant and order the following relief as allowed by law:

               A.     Compensatory damages, including but not limited to those for emotional distress,

     inconvenience, mental anguish, and loss of enjoyment of life;

               B.     Back pay and benefits;

               C.     Reinstatement or front pay and benefits;

               D.     Injunctive and/or declaratory relief;

               E.     Attorney fees and costs of the action, including expert witness fees, as

     appropriate;

               F.     Pre-judgment and post-judgment interest at the highest lawful rate; and

               G.     Such further relief as justice allows.
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                                Respectfully submitted October 17, 2016.

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                            CERTIFICATION OF GOOD STANDING

          I hereby certify that I am a member in good standing of the bar of this Court.


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